Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 1 of 84

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No. 1:22-CR-99-RJL

Vv.

JAKE MAXWELL,

Defendant.

MOTION TO REVIEW AND RECONSIDER THE
TRIAL COURT’S GUILTY VERDICT

COMES NOW the Defendant, Jake Maxwell (“Mr. Maxwell”), by and through counsel,
Michael T. van der Veen and William J. Brennan, and respectfully moves this Court to review and
reconsider the Court’s guilty verdict on Count I of the Indictment, Civil Disorder in violation of
18 U.S.C. § 231(a)(3) and find Mr. Maxwell not guilty of such offense. In support thereof, the
defense states as follows:

On November 14, 2023, following a bench trial before the Honorable Richard Leon, the
Court found Mr. Maxwell guilty of one (1) count of Civil Disorder, in violation of 18 U.S.C. §
231(a)(3); one (1) count of Entering and Remaining in a Restricted Building or Grounds, in
violation of 18 U.S.C. § 1752(a)(1); and one (1) count of Disorderly and Disruptive Conduct in a
Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2). The Court found Mr.
Maxwell not guilty of the remaining four (4) charges. On April 29, 2024, Mr. Maxwell appeared
before the Court for sentencing. At that time, defense counsel and the Government argued
extensively concerning the appropriate guidelines for this case. The Court bifurcated the

sentencing hearing which is currently scheduled to resume on August 7, 2024.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 2 of 84

In between Mr. Maxwell’s first sentencing hearing and the time of this filing, defense
counsel has become aware of two (2) similar cases in this District where district court judges found
similarly situated defendants not guilty of felony Civil Disorder.'! Defense counsel, thus,
respectfully requests this Honorable Court review and reconsider its guilty verdict as it pertains to
the charge of Civil Disorder.

Although there exists no Federal Rule of Criminal Procedure governing motions to
reconsider, District Courts have the authority to entertain such motions and reconsider non-final
rulings. United States v. DaSilva, No. 1:21-CR-00564 (CJN), 2024 WL 519909, at *2-3 (D.D.C.
Feb. 8, 2024). “[I]t is a power ‘inherent in every court of justice so long as it retains control of the
subject-matter and of the parties, to correct that which has been wrongfully done by virtue of its
process.’” Jd. (quoting Arkadelphia Milling Co. v. St. Louis Sw. Ry. Co., 249 U.S. 134, 517 (1919)).
Therefore, as long as a case and parties are properly before the Court, there exists jurisdiction to
correct what had been wrongfully done. Jd. (citing Nw. Fuel Co. v. Brock, 139 U.S. 216, 219,
(1891)). Findings of guilt are not final orders, and District Courts have authority to reconsider
such findings. Jd. at 4 (citations omitted). See also United States v. Mendoza, 390 F. Supp. 2d 925
(N.D. Cal. 2005)(where the District Court later “reconsidered its guilty verdict, vacated its finding
of guilt, and dismissed the indictment.”).

Defense counsel respectfully requests this Honorable Court review its guilty verdict, and
to specifically review and consider USA v. Joseph Hicks, No. 1-2:3-cr-00399-JMC and USA yv.
Michael Daniele, No. 1:23-cr-00143-APM. Hicks involved an individual who, unlike Mr.

Maxwell, went inside the Capitol, fist bumped another rioter and walked around the Rotunda and

'Defense counsel has become aware of additional cases finding defendants not guilty of Civil Disorder, but for brevity
purposes we have not included those in this filing.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 3 of 84

Statutory Hall. N.T., 6/27/24, p. 7.2 Mr. Hicks went to the Capitol because he “wanted his voice to
be heard and hoped that the election would be overturned.” N.T., 6/27/24, p. 7. The Honorable Jia
M. Cobb found Mr. Hicks not guilty of Civil Disorder noting and in pertinent part that “Mr. Hicks
certainly pushed against the man [in] the olive-green jacket... and there was a scuffle of some sort
between them.” N.T., 6/27/24, p. 7. Judge Cobb further noted that Mr. Hicks “saw people attacking

police and an officer who had been busted in the head.” N.T., 6/27/24, p. 7. Judge Cobb went on

to state,

But I cannot find that the government proved that Mr. Hicks
committed an act with the intended purpose of obstructing,
impeding or interfering with one or more law enforcement
officers... For more specificity, the government presented evidence
of two incidents in which it contended that Mr. Hicks acted with the
intent to impede or obstruct law enforcement officers. First is the
event I described earliest where Mr. Hicks is trying to push his way
into the building and has an interaction with a man in an olive green
jacket. It is clear that Mr. Hicks is trying to gain entry into the
Capitol, and it was not welcoming scene or one where I think any
reasonable person would have concluded that they should have
been there. But I can’t find beyond a reasonable doubt that Mr.
Hicks had the intent to impede law enforcement officers at that
moment.

N.T., 6/27/24, pp. 12-13 (emphasis added).

In finding Mr. Hicks not guilty, Judge Cobb declared, “[c]ertainly, at a broad level, Mr. Hicks
being physically present in the Capitol made it more difficult for the officers to do their job
because he was a part of the mob. But I cannot find that it was his intent to obstruct, impede
or interfere with law enforcement based on the video evidence presented at trial.” N.T., 6/27/24,

p. 15 (emphasis added).

? A true and correct copy of the Notes of Testimony from the June 27, 2024, verdict reading transcript is attached
hereto as “Exhibit A.”
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 4 of 84

In USA v. Michael Daniele, the Honorable Amit P. Mehta found Mr. Daniele not guilty of
two (2) counts of Civil Disorder following a non-jury trial.’ In Daniele, Judge Mehta made the
following (relevant) findings of fact: first, that Mr. Daniele went to President Trump’s speech at
the Ellipse and then went to the peace circle where he “encountered a line of bike racks and snow
fencing, behind which are a group or were a group of U.S. Capitol Police Officers who were
guarding the Pennsylvania Avenue.” N.T., 6/14/24, p. 598. Mr. Daniele confronted the line of
officers and pushed and pulled on bike racks before additional people began to push the bike racks
down and cross the barrier. N.T., 6/14/24, p. 599. While the Officers were attempting to re-
establish a barrier, Mr. Daniele’s foot comes into contact with the bike rack very briefly. N.T.,
6/14/24, p. 599. Mr. Daniele then begins to move forward and steps on the bike rack. N.T., 6/14/24,
p. 599. Soon thereafter, an individual backed into Mr. Daniele with the bike rack, causing Mr.
Daniele to push the bike rack to the side. N.T., 6/14/24, p. 600. Mr. Daniele would eventually end
up “atop a ledge looking southward into the Lower West Terrace...” N.T., 6/14/24, p. 601. While
on the Lower West Terrace, Mr. Daniele was pointing with both forefingers and mouthing certain
things that the Court deduced was not a “compliment,” and did not appear to be “shouting
encouragement.” N.T., 6/14/24, p. 601-602. Notably, Mr. Daniele walked through the Senate
doors, nearly an hour and half after the incident with the bike racks. N.T., 6/14/24, p. 603.

The Court, in finding Mr. Daniele not guilty of the two (2) counts of Civil Disorder stated,

As to Count 1, I cannot find beyond a reasonable doubt that Mr.
Daniele acted with the intended purpose of obstructing, impeding or
interfering with law enforcement officers when he placed his foot
on the bike rack. The evidence showed that Mr. Daniele had his foot
on the bike rack only momentarily. The officer was able to continue
raising the bike racks, suggesting that Mr. Daniele was not stepping

on the bike rack with much force. Mr. Daniele then stepped away
from the line and moved forward only after the officers dropped the

3 A true and correct copy of the Notes of Testimony from the June 14, 2024 verdict reading transcript is attached
hereto as “Exhibit B.”
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 5 of 84

bike rack barriers to fall back to the Lower West Terrace. During
this time, there was no evidence that Mr. Daniele said anything
to an officer or any — to any officer, participated in any chanting,
or took any other actions suggesting that his intent at the time
was to interfere with the officer’s performance of his duties. As
to Count 2, I likewise find that I cannot find by a reasonable doubt
—I do not find beyond a reasonable doubt that Mr. Daniele acted
with the intended purpose of obstructing, impeding, or interfering
with law enforcement officers when he took hold of the bike rack
and pushed it out of the way and to the ground. The evidence is
undisputed that another person lifted a different segment of the bike
rack barrier and pulled back on it just as Mr. Daniele was reaching
out his hand to offer an officer the baseball cap that he had picked
up. The bike rack barrier moved toward Mr. Daniele. It would have
been perfectly natural for him to grab the bike rack and move it out
of the way to protect himself. The bike rack posed some danger, as
evidenced by the person behind Mr. Daniele jumping onto the ledge
and avoid being hit. Also, Mr. Daniele does not do anything
immediately after to impede any officer. He stands in the same
location for some period of time.

N.T., 6/14/24, 606-607 (emphasis added).

In finding Mr. Maxwell guilty of Civil Disorder* in the case at bar, this Honorable Court
reviewed the three (3) necessary elements that the government must prove beyond a reasonable
doubt. This filing concerns the first element, which is “that the defendant knowingly committed
or attempted to commit an act for the intended purpose of obstructing, impeding, or interfering
with one or more law enforcement Officers.”> N.T., 11/14/23, pp. 393-94.° As it pertains to the
first element, this Honorable Court declared,

[T]he Court finds, beyond a reasonable doubt, that Mr. Maxwell
knowingly committed an act intending to obstruct, impede, or

interfere with law enforcement officers. The evidence is clear
regarding Mr. Maxwell's movements on the U.S. Capitol grounds

418 U.S.C. § 231(a)(3) reads, “[w]hoever commits or attempts to commit any act to obstruct, impede, or interfere
with any fireman or law enforcement officer lawfully engaged in the lawful performance of his official duties incident
to and during the commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or performance of any federally
protected function—"

> There is no dispute regarding elements two (2) and three (3), specifically, that the law enforcement officers were
lawfully engaged in their official duties and that the civil disorder adversely effected commerce.

® A true and correct copy of the Notes of Testimony from November 14, 2023 is attached as “Exhibit C.”

5
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 6 of 84

that day: He entered the south end of the West Plaza between 2:00
and 2:30 p.m. and watched as rioters shoved, threw objects at, and
attacked officers from the Metropolitan Police Department and the
U.S. Capitol Police, who were attempting to hold the line on the
west front. Shortly after 2:30 p.m., Mr. Maxwell made his way to
the front of the crowd and came face-to-face within a line of officers,
who — as Mr. Maxwell himself acknowledged — "were defending
the Capitol." With the mob then pressing behind him, Mr. Maxwell
surged forward into the police line and, in fact, breached it,
eventually coming to rest behind that line. Over the next two-and-a-
half hours, Mr. Maxwell moved from his position behind the police
line, which collapsed shortly after he left the West Plaza, traveled
up to the Lower West Terrace, then the tunnel, and finally the Upper
West Terrace; for much of that time, Mr. Maxwell was part of a
crowd that included violent rioters, whose assaultive conduct Mr.
Maxwell could not fail to see. The Court therefore finds that the
defendant's acts and movements that day were not made "through
ignorance, mistake, or accident," but rather with a full awareness
that they would obstruct, impede, or interfere in the police's ability
to defend the Capitol. The Court additionally finds that Mr.
Maxwell, who deliberately cut a path to the front of the mob and the
police line, and who joined in a crowd that he knew included
assaultive rioters, did so with the "intended purpose" of obstructing,
impeding, or interfering with the police's mandate to protect the
Capitol and its inhabitants and to clear the grounds of all
demonstrators. As such, the Court finds the first element of civil
disorder is satisfied in Mr. Maxwell's case.

N.T., 11/14/23, pp. 393-396(emphasis added).

Remembering that this Honorable Court acquitted Mr. Maxwell of two (2) charges of
Assault, defense counsel submits Mr. Maxwell actions did not demonstrate an intent to obstruct,
interfere, or impede the Capitol Police Officers (“CPD”) or Metropolitan Police Department
(“MPD”) Officers from doing their respective jobs similar to the finding of the Court in Hicks.
But here, the Court found only that Mr. Maxwell “watched as rioters shoved, threw objects at, and
attacked officers from the Metropolitan Police Department and the U.S. Capitol Police.” N.T.,
11/14/23, at 394. Like Mr. Hicks, Mr. Maxwell’s presence at the Capitol to witness and protest did

not, by itself, interfere, impede, or obstruct CPD and MPD Officers abilities to do their job.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 7 of 84

Much like Mr. Daniele’s case, Mr. Maxwell reacted to circumstances and not done with
the intended purpose of interfering with the duties of law enforcement on January 6, 2021. Further,
much like Mr. Daniele, Mr. Maxwell stood in the same location for some period of time, not doing
anything to impede any officer. If Mr. Daniele was found not guilty of Civil Disorder when he
pushed a bike rack barrier out of the way and stepped over it, the defense respectfully argues Mr.
Maxwell is also not guilty of the same offense for his mere presence that day.

Both the Hicks and Daniele cases mentioned above, involve defendants who were doing
more than being present at or around the Capitol on January 6, 2021, standing to bear witness, and
having their voices heard. Both cases involved defendants who went inside the Capitol,
contributing to the breach of the Capitol, and therefore, created a greater likelihood of interfering
with the duties of officers. The Court in Hicks and in Daniele were not persuaded that those
defendants intended to interfere with law enforcement. The defense here suggests this Honorable
Court should deduce that persons acting with greater severity than Mr. Maxwell on January 6" —
that is by going inside the Capitol, at least two judges of the court concluded the Government could
not show criminal intent shown beyond a reasonable doubt upon similar evidence to the present
case.

Mr. Maxwell, and all the other individuals present at or around the Capitol on January 6,
2021, made the jobs of CPD and MPD Officers jobs more difficult, but that was not Mr. Maxwell’s,
nor Mr. Hicks’, not Mr. Daniele’s intent. They sought a hearing. Protest was their intent. Their
intent was to witness, not to interfere with the duties of the law enforcement officers. As the
evidence demonstrated at trial, Mr. Maxwell listened to the orders of the CPD and MPD Officers
at the front line, and at the area behind the front line on January 6, 2021. In fact, police officers

told Mr. Maxwell (and his father) to stay in a specific area behind the police line when the two (2)
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 8 of 84

of them attempted to escape the mayhem. Mr. Maxwell followed this order. Mr. Maxwell did not
obstruct, interfere or impede with any officers’ ability to do their jobs. Mr. Maxwell followed the
instructions officers gave him. Mr. Maxwell’s actions on January 6, 2021, constituted the opposite
of interfering, impeding or obstructing officers. Indeed, Mr. Maxwell was one less person that the
police officers had to worry about controlling, and therefore, effectively, assisted their efforts to
protect the Capitol and control the crowd by heeding commands.

It is important to note that in anticipation of the crowds of people expected on January 6,
2021, CPD and MPD Officers were specifically requested to help control crowds and groups of
people. Mr. Maxwell, while part of the expected crowd for whom officers were already present,
listened to the orders of law enforcement personnel doing nothing to interfere with the job of CPD
and MPD Officers. Those officers were present for the specific purpose of controlling the crowd,
and Mr. Maxwell, by submitting to commands, allowed himself to be controlled. The defense
suggests that behavior is the opposite of making officers’ job more difficult?

This Honorable Court has an interest in preventing both sentencing and verdict disparities.
Granting Mr. Maxwell’s request for an acquittal on the charge of Civil Disorder will help ensure
the final verdict will be consistent with other decisions of this court made on similar evidence. See
Hicks and Daniele, supra. “Interfere, impede, and obstruct” are not statutorily defined, as
discussed at length in Mr. Maxwell’s Motion to Dismiss, leaving case decisions within the District
as the only authority suggesting what those definitions are. The defense suggests that this
Honorable Court will advance the interests of justice by acquitting Mr. Maxwell of Count I of the

Indictment, Civil Disorder.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 9 of 84

WHEREFORE, Mr. Maxwell respectfully moves this Court to reconsider and review the
Court’s guilty verdict, and find Mr. Maxwell not guilty of Count 1 of the Indictment, Civil

Disorder, a violation of 18 U.S.C. § 231(a)(3).

Respectfully Submitted,

Date: August 1, 2024 /s/ Michael T. van der Veen
Michael T. van der Veen

Attorney for Defendant

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 10 of 84

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 1 day of August, 2024, a copy of the foregoing Motion
to Review and Reconsider the Trial Court’s Guilty Verdict was electronically filed with the Clerk

of the United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government: Elizabeth N. Eriksen
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/s/ Michael T. van der Veen
Michael T. van der Veen, Esq.

10
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 11 of 84

EXHIBIT A
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 12 of 84

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Criminal Action

Plaintiff, No. 1:23-cr-00399-JMC

vs. June 27, 2024
10:00 a.m.

JOSEPH KERRY HICKS,

Defendant. Washington, D.C.

TRANSCRIPT OF THE VERDICT
BEFORE THE HONORABLE JIA M. COBB
UNITED STATES DISTRICT JUDGE

APPEARANCES:
For the Government:

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USAO

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Kathryn E. Bolas

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 13 of 84

(APPEARANCES CONTINUED: )

For the Defendant:

Ubong E. Akpan
FEDERAL PUBLIC DEFENDER FOR THE DISTRICT OF COLUMBIA

625 Indiana Avenue, NW
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Court Reporter:

Stacy Johns, RPR, RCR
Official Court Reporter

Proceedings recorded by mechanical stenography,
transcript produced by computer-aided transcription

PROCEEDING

(Defendant present via Zoom.)

COURTROOM DEPUTY: Your Honor, we're on the record in
criminal case 23-399, United States of America versus Joseph
Kerry Hicks.

Starting with government counsel, please approach the
podium and state your appearance for the record.

MR. BARCLAY: Good afternoon, Your Honor. Michael
Barclay and Katherine Bolas for the United States.

THE COURT: Good afternoon.

MS. SHREWSBURY: Good afternoon, Your Honor. Diane
Shrewsbury and Ubong Akpan for Mr. Hicks. Mr. Hicks is present

via video.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 14 of 84

THE COURT: Okay. And Mr. Hicks had waived his
presence for this hearing.

MS. SHREWSBURY: Yes, Your Honor. We filed the waiver
on the docket.

THE COURT: Okay. So we are here for the verdict. I
will read that. And I will also be filing on the docket a
verdict form that memorializes just the verdict, but I'm going
to put my findings on the record now.

So the parties are before the Court for my findings of
fact and verdict after a two-day bench trial. Mr. Hicks was
charged with five counts: Count 1, obstructing officers during
a civil disorder; count 2 entering or remaining in a restricted
building or grounds; count 3, disorderly or disruptive conduct
in a restricted building or grounds; count 4, disorderly
conduct in a Capitol building; and count 5, parading,
demonstrating or picketing in a Capitol building or grounds.

I'm going to start with my findings of fact and I find
as follows: Beginning with Mr. Hicks's conduct before
January 6, 2021, the evidence established beyond a reasonable
doubt that following the presidential election on November 4th,
2020, Mr. Hicks was frustrated about what he believed was a
fraudulent election.

To be clear, there's nothing criminal about his belief
whatsoever, but the Court is recounting evidence that provides

some insight into Mr. Hicks's beliefs as they may relate to his

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 15 of 84

intent for some of the offenses charged.

In an interview with law enforcement officials,

Mr. Hicks confirmed that he believed the 2020 election was
rigged and stolen, and that's from Government Exhibit 501 at
27:31.

In the weeks leading up to January 6, 2021, Mr. Hicks
made various Internet searches for topics related to the
election and the vice president. The circumstantial evidence
presented is more than sufficient for the Court to conclude
that Mr. Hicks made those searches.

The subscriber information shows that the searches
were made on his device or Google account and related to topics
and thoughts that he expressed in his conversations with law
enforcement.

The Court can use its common sense in evaluating
evidence, and it is too much of a leap for me to conclude that
someone else was responsible for the search history on
Mr. Hicks's account and devices under the circumstances that I
described.

So I do find that Mr. Hicks visited the Wikipedia
pages for "U.S. presidential line of succession" and "vice
president of the United States," which is in Government's
Exhibit 701.2. He also visited a website with the title
"Impeachment and Removal From Office," which is Government's

Exhibit 701.2 again.

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 16 of 84

And he viewed a video, or at least pulled up a video,
titled, "Examining Irregularities in the 2020 Election" and
another video titled, "Full Phone Call, Trump Pressures Georgia
Secretary of State to Recount Election Votes," and that's
Government's Exhibit 701.3.

The Court does not know how much of the sites or pages
or videos he viewed or the content of those videos or sites at
the time that he viewed them. There was no evidence that was
presented during the trial to that effect. So the information
that the Court recounted is the only information that the Court
has about the various sites and videos that Mr. Hicks accessed
before he visited the Capitol on January 6th.

And according to Mr. Hicks, he traveled to Washington,
D.C. on January 5th, 2021, because he wanted his voice to be
heard and hoped that the election would be overturned. That's
from Government's Exhibit 500 at 4:10.

On January 6, 2021, Mr. Hicks was wearing a red
baseball cap with the words "Trump, Make America Great Again
2020," sunglasses, a red and blue patterned gaiter, a red
sweatshirt, a black jacket, black and yellow gloves and jeans.
He also carried a flagpole bearing a black flag which depicted
a red, white and blue skull with "3 Percent" in one of the eyes
and the words "We Are Everywhere" in white text underneath.

And that is from Exhibit 900, which is stipulation one, as well

as Government's Exhibit 400, which shows a photo of Mr. Hicks

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29

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 17 of 84

with this flag.

A photo that the government admitted at trial shows
Mr. Hicks in front of the Washington Monument on January 6th
holding his flag. That's Government Exhibit 400. It's not
clear from the evidence, at least as far as the Court can tell,
the precise time the photo was taken, although it is clear that
it was taken on January 6th, given where Mr. Hicks was, his
clothes and all the other evidence presented during the trial
that makes it clear that that was a photo taken on January 6th.

The government argued at trial that Mr. Hicks attended
a Stop the Steal rally at the Ellipse before making his way to
the Capitol building, but I cannot make that conclusion from
the evidence.

In his custodial interview, Mr. Hicks said that he
attempted to enter the rally but was told that he could not
enter with his flag. Specifically, he told law enforcement:

We were told don't bring your flags because they're taking
flags. That's Government's Exhibit 501 at 30:45.

Another statement that he made to law enforcement was:
When I went to the Ellipse, I was trying to get into the
Ellipse but couldn't. And he also told law enforcement that he
didn't get in. And that's, again, from the recorded custodial
interview, Exhibit 501. And I'm citing from approximately
30:45 to 31.

Although Mr. Hicks made reference to President Trump's

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 18 of 84

speech in his interview with law enforcement, it's not exactly
clear to the Court whether Mr. Hicks was referring to watching
that speech in realtime or watching a recording afterwards.

For example, Mr. Hicks speaking to law enforcement makes the
statement, quote: And they're saying Trump didn't say
peacefully go out and protest. Yes, he did. That was on tape.
There's a video.

And that's at Government's Exhibit 501 at 31:40.

But regardless, at 2:41, the evidence clearly
establishes that Mr. Hicks entered the Capitol building,
Government's Exhibit 109 at the five-minute mark.

Mr. Hicks then milled around the Capitol building. He
walked through the Rotunda and Statutory Hall. He waved his
flag around and fist bumped another rioter. That's
Government's Exhibit 109 at 6:55.

And while he was in the Rotunda, there was clearly a
civil disorder and riot taking place. There were people
climbing statues, leaving paraphernalia related to President
Trump around the room. One example is from Government's
Exhibit 109 at 7:15 and 11:53.

The evidence establishes that Mr. Hicks was in the
Capitol for about 18 minutes and he then exited through the
Rotunda doors. That's also from Exhibit 109 at 23:30.

About a half an hour later, around 3:30 p.m.,

Mr. Hicks returns to the Capitol building. At the same time

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 19 of 84

that Mr. Hicks approached the building for the second time,
there were law enforcement officers inside the building who
were trying to push people out of the Capitol and regain
control of the building. And that's Government's Exhibit 108
at 2290.

The scene at the doorway was loud and chaotic. That's
demonstrated in Government's Exhibit 200. There were chemical
agents and homemade chemical concoctions that were being
blasted from law enforcement officers, but also rioters.
Officer Mendoza of the Capitol Police testified that chemicals
were being deployed by both sides. I would also refer to
Government's Exhibit 108 at 2:50.

Officer Choi also testified about the chaotic scene at
the time. In fact, in the confusion, Officer Choi testified
that he accidentally pushed another police officer outside of a
door because he mistook the officer for a rioter. And that's
from his testimony and demonstrated in Government's Exhibit 200
at the two-minute mark.

Mr. Hicks attempted to reenter through the doorway.

He joined a group of people standing just outside the doorway,
and this put him behind a tall man wearing an olive green
jacket, who was the subject of much argument during the trial.
This is in Government's Exhibit 108 at 2:50.

There were rioters in between Mr. Hicks and the law

enforcement officer officials inside, and from the views of the

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 20 of 84

various videos introduced at trial, it's not clear to the Court
whether Mr. Hicks saw the officers in the doorway who were
standing on the other side of the rioters.

Mr. Hicks certainly pushed against the man in the
olive green jacket. That's Government's Exhibit 108 at 2:55.
And there was a scuffle of some sort between them. Seconds
later, a large crowd pushed out of the building and passed
Mr. Hicks, who was still just outside the doorway. At this
point the man in the olive green jacket also walked away from
the building and out of the frame. I'm at Government's
Exhibit 108 at 3:19.

After the man in the olive green jacket left,

Mr. Hicks turned his back to the now visible police line and
faced way from the building. That's clear from Government's
Exhibit 108 at 3:35.

An officer wearing black gloves then pulled Mr. Hicks
by his jacket backwards for a few steps, and when the officer
let go of him Mr. Hicks's sweatshirt rebounded and he walked
out of the doorway to the outside of the building. That's from
Government's Exhibit 108 at 3:39. Mr. Hicks then left the
area.

The parties stipulated that the U.S. Capitol Police
officers, Metropolitan Police Department officers and other law
enforcement officers present at the U.S. Capitol on January 6,

2021, were engaged in their official duties by policing the

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 21 of 84

10

Capitol building and grounds and enforcing federal law and D.C.
law in those areas.

The parties have also stipulated that the vice
president, a Secret Service protectee, was present in the
Capitol. And the stipulations, just for purposes of the
record, are contained at Government's Exhibit 900. And
specifically, I'm referring to there was stipulated testimony
of a Secret Service special agent, Elizabeth Glavey.

Based on the evidence presented at trial, the Court
does find beyond a reasonable doubt that the events of
January 6th negatively impacted businesses in Washington, D.C.
Safeway stores, for example, made between 14 percent and
56 percent less in sales due to the safety-related closures and
inability to receive shipments from out of state. And that's
clear from Government's Exhibits 13 through 16, which I fully
credit.

Following January 6, 2021, Mr. Hicks twice spoke to
FBI agents investigating his actions on January 6, 2021.
During his first interview, Mr. Hicks admitted that he was
inside the building. That's at Government's Exhibit 500 at
6:40.

He acknowledged that he saw people attacking police
and an officer who had been busted in the head. Government
Exhibit 500 at 7:45 and at 8:40.

And during a second interview, which took place in

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 22 of 84
11

2023, Mr. Hicks explained that his behavior was, he thought,
justified. He explained that, quote, that's the people's house
and we have every right to go in there and walk around. That's
at Government Exhibit 501 at 18:05.

And he also was clear as to why he went to the Capitol
that day. He made -- told law enforcement that his goal was to
go and stand on the steps and protest and let his voice be
heard because it was a rigged election and a stolen election.
And he was there because he thought that Congress was going to
overturn the election. And that's from Government's
Exhibit 501, 27:38 and 28 through 50.

So with those factual findings, I now announce my
verdict. As to count 1, 18 U.S.C. section 2231 (a) (3),
obstructing officers during a civil disorder, the elements are:

One, that defendant knowingly committed an act with
the intended purpose of obstructing, impeding or interfering
with one or more law enforcement officers.

Two, at the time of the defendant's actual or
attempted act, the law enforcement officers were engaged in the
lawful performance of their official duties incident to and
during a civil disorder.

And third, that the civil disorder in any way or
degree obstructed, delayed or adversely affected commerce or
the movement of any article or commodity in commerce or the

conduct or performance of any federally protected function.

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 23 of 84
12

Elements two and three are not really in dispute. And
as I indicated in my findings I find beyond a reasonable doubt
that the evidence amply satisfies -- the government satisfied
proving those elements.

Specifically, the parties' stipulation, the video
evidence that I've already referred to and the other evidence
cited in my findings of fact establishes beyond a reasonable
doubt that what occurred on January 6th was a civil disorder
and that the impact -- these events had an impact on commerce,
for example, Safeway stores.

But I cannot find that the government proved that
Mr. Hicks committed an act with the intended purpose of
obstructing, impeding or interfering with one or more law
enforcement officers. So Mr. Hicks is not guilty of count l.

For more specificity, the government presented
evidence of two incidents in which it contended that Mr. Hicks
acted with the intent to impede or obstruct law enforcement
officers.

First is the event I described earlier where Mr. Hicks
is trying to push his way into the building and has an
interaction with a man in an olive green jacket. It is clear
that Mr. Hicks is trying to gain entry into the Capitol, and it
was not a welcoming scene or one where I think any reasonable
person would have concluded that they should have been there.

But I can't find beyond a reasonable doubt that

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 24 of 84

Mr. Hicks had the intent to impede law enforcement officers at
that moment. I can't be sure what he saw, what he was aware
of, that he knew law enforcement officers were behind the group
of rioters when he was trying to push his way in or whether he
was just under the impression that the door was congested
because of the mob of rioters and he was trying to make his way
through a crowd.

In other words, I don't know that if there had been a
visible line of officers at the door, that Mr. Hicks would have
behaved the same or tried to push beyond the officers. The
scene was chaotic with many loud noises and a lot of people,
and there was a haze of smoke or some chemicals in the video
but Officer Mendoza testified that the chemicals were being
deployed by both sides.

So based on that testimony, I can't conclude that
Mr. Hicks would have known from that smoke alone that there
were officers in the vicinity that were deploying those
chemicals.

Mr. Hicks's counsel during closing argument presented
a plausible explanation for his conduct as it relates to his
interactions with the person in the green jacket, that I can't
find did not happen beyond a reasonable doubt. Namely, that he
was looking at this person, focused on that person and got into
a scuffle of some sort with that individual.

Second, the government argues that shortly after this

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 25 of 84

14

first incident that I described that Mr. Hicks backed into an
officer to try to push his way into the building. By this
point, the officers were clearly at the door, and Mr. Hicks
turned his back and tried to push them out the way. I would
have no problem concluding that the government satisfied this
element beyond a reasonable doubt.

But a close examination of the video does show that an
officer pulled Mr. Hicks into the building and that as soon as
Mr. Hicks was released he stepped away from the doorway and
left the area. I watched the video very carefully after
closings. It is clear he's being pulled back. Not only
because I can see the officer grab the back of Mr. Hicks's
sweatshirt but because I can see the hood of his jacket spring
back up after the officer's hand moves. And the only plausible
explanation for his hood doing that is that an officer grabbed
him and released him.

So his moving back towards the officers was not
voluntary, and after the officer released him, he walks away.
If his aim had been to break through the line of officers,
there's certainly nothing that was preventing him from trying
again or engaging in more aggressive tactics to get past them.
Certainly, there were many other people that day who did that,
as the videos depict.

Certainly, at a broad level, Mr. Hicks being

physically present in the Capitol made it more difficult for

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 26 of 84

15

the officers to do their job because he was part of the mob.
But I cannot find that it was his intent to obstruct, impede or
interfere with law enforcement based on the video evidence
presented at trial.

Count 2, 18 U.S.C. 1752(a) (1), entering or remaining
in a restricted building or grounds. The elements of that
count are, one, that the defendant entered or remained in a
restricted building or grounds without lawful authority to do
so; and two, that the defendant did so knowingly, meaning, A,
that he knew that he entered or remained without lawful
authority; B, in what he knew to be a posted, cordoned off or
otherwise restricted area; and finally, that he knew that the
restricted area was a building or grounds where the president
or other person protected by the Secret Service was or would be
temporarily visiting.

And the parties are certainly aware that there is a
bit of a split in this district about whether the defendant has
to know that the restricted area was a building or grounds
where a Secret Service protectee would be temporarily visiting.
As my legal instructions make clear, I've concluded that the
defendant does have to know that, and I cannot make that
finding beyond a reasonable doubt based on the evidence
presented at trial. So I will acquit Mr. Hicks and find him
not guilty of count 2.

The government had argued and attempted to prove at

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 27 of 84
16

trial that Mr. Hicks knew Vice President Mike Pence would be
present at the Capitol on January 6th because he listened to
then President Trump's speech and made reference to the speech,
which made reference to vice president, and his Internet
searches demonstrate his awareness that the vice president
would be visiting the Capitol and his understanding of the vice
president's role in the process.

As I indicate in my findings of fact, I don't know
that Mr. Hicks actually attended that speech. Again, in his
FBI interview he stated that although he planned to attend the
speech, he wasn't actually able to get in the area where the
president would be speaking.

And there's a photograph of him in the area of the
Washington Monument but I don't know when that photograph was
taken in relation to the speech, whether he actually saw the
speech in that area. And if I credit Mr. Hicks's statement to
law enforcement, he was not there for the speech. Given his
other admissions about his conduct that day, I'm not sure why
he would have denied hearing the speech if he was there.

And as I indicated earlier, it's not clear from the
statements that Mr. Hicks made in his custodial interview about
President Trump's words whether he was talking about something
that was related to him that day, that he saw that day or
something he learned after.

His reference to there being a video of President

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 28 of 84

Trump telling people to demonstrate peacefully, which was made
years after the date in question, is a little bit ambiguous as
to whether he watched the speech in person or a recording
afterwards. If he was talking about something he saw that day,
it seems a bit odd that he would refer to there being a video
of the statement.

And then finally, I can't conclude from Mr. Hicks's
search history that Mr. Hicks read, learned or confirmed
anything about the vice president being at the Capitol. That's
not in the title of any of the searches and I don't know if you
go to the vice president's Wikipedia page what it says about
that officer's role in the certification process or whether
Mr. Hicks even saw that on that page, for example.

There was no evidence presented at trial about what
the contents of those videos were or what was on those pages.
So I just have to go by the titles.

As to count 3, 18 U.S.C. 1752(a) (2), disorderly or
disruptive conduct in a restricted building or grounds, I find
Mr. Hicks not guilty for the same reasons as I found him not
guilty in count 2, because element two of that charge is the
same as an element of count 2.

As to count 4, disorderly conduct in a Capitol
building, I find Mr. Hicks guilty of count 4. I find beyond a
reasonable doubt that the government proved all the elements of

that offense.

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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 29 of 84

18

First, Mr. Hicks engaged in disorderly or disruptive
conduct in a Capitol building or grounds. Among the evidence
that I cited in my factual finings, Mr. Hicks entered the
Capitol. He was in the Rotunda area. It was clear from the
videos that he should not have been there.

He was part of a large mob that overtook the Capitol.
And his presence as part of the mob, including parading his
flag around the Rotunda for 18 minutes in the midst of the mob,
trying to force his way through the doors, getting into at
least one skirmish with another rioter, that was clearly
disruptive and disorderly behavior, which is evident from the
videos.

I do find that he intended to engage in that behavior
with the specific intent to impede, disrupt or disturb the
orderly conduct of a session of Congress. In other words, he
did so with the intent to disrupt or disturb Congress.

By his own account, Mr. Hicks came to Washington, D.C.
with the express purpose of protesting what he believed to be a
rigged election, and his goal, as stated by him, was to cause a
recount of the votes by the states.

He clearly understood that something related to the
election that he believed to be fraudulent was taking place at
the Capitol that day, from his own admissions to law
enforcement, and he admits that he was there to try to prevent

that from happening and to try to achieve his outcome.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 30 of 84
19

With respect to the last element, I find beyond a
reasonable doubt that Mr. Hicks acted willfully and knowingly.
That's clear from the evidence and his statement to law
enforcement. His conduct certainly wasn't the result of
inadvertence or mistake. So Mr. Hicks is guilty of count 4.

As to count 5, parading, demonstrating or picketing in
a Capitol building, I find Mr. Hicks guilty of count 5. I find
beyond a reasonable doubt that Mr. Hicks paraded, demonstrated
or picketed in a U.S. Capitol building or grounds. He admitted
that at minimum he was demonstrating at the Capitol and the
video evidence clearly depicts him parading and demonstrating
inside the Rotunda area and on Capitol grounds, waving his
flag.

And I find that he acted willfully and knowingly.
Again, video evidence and Mr. Hicks's statements make clear
that his actions were not inadvertent or mistaken. He admits
that he was at the Capitol to demonstrate. And that's what the
evidence establishes beyond a reasonable doubt. So Mr. Hicks
is guilty of count 5.

So that's my verdict and I believe we just need to set
a date for sentencing. So we can propose a date and see if
that works for the parties.

COURTROOM DEPUTY: Will September 17th at 10:30 a.m.
work?

THE COURT: Does that work for the parties?

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 31 of 84

20

MS. SHREWSBURY: Your Honor, I would just raise that I
believe probation in cases where the person is released asks
for 120 days instead of 90 days.

COURTROOM DEPUTY: It's back to the 90 days.

THE COURT: It's back to 90.

MS. SHREWSBURY: Your Honor, can we do a virtual since
it's just the 5104s?

THE COURT: Any objection from the government?

MR. BARCLAY: No objection.

THE COURT: Okay. And does that date work for you? I
should have asked.

MR. BARCLAY: The government can do that date.

THE COURT: September 17th at 10:30 a.m. for
sentencing by Zoom.

MS. AKPAN: I apologize, Your Honor. I actually have
a trial. I'll be in trial the 17th. I was looking at the
wrong week.

THE COURT: Okay. Can we do it the following week?

DEPUTY CLERK: We're in trial.

THE COURT: We're in trial? Which trial is that? Can
we set it on a Friday? We're going to pick a date.

COURTROOM DEPUTY: That Friday is not good, Your
Honor.

THE COURT: Okay. Just pick another.

(Off-the-record discussion. )

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25

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 32 of 84
21

COURTROOM DEPUTY: We can do September 27th at
1:00 p.m.

MS. AKPAN: That's fine for us. Thank you.

THE COURT: Does that work for the government?

MR. BARCLAY: That's fine.

THE COURT: Okay. That will be by Zoom. So I will
ask the parties to submit sentencing memos by September 13th
and any replies by September 20th. And then sentencing
September 27th.

Anything else that we need to discuss?

MS. AKPAN: Nothing further, Your Honor.

THE COURT: From the government?

MR. BARCLAY: No.

THE COURT: Thanks, everyone. See you back in
September.

(Proceedings concluded at 3:01 p.m.)

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 33 of 84

CERTIFICATE

I, Stacy Johns, certify that the foregoing is an

accurate transcription of the proceedings in the

above-entitled matter.

/s/ Stacy Johns Date: July 19, 2024

Stacy Johns, RPR, RCR
Official Court Reporter

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 34 of 84

EXHIBIT B
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 35 of 84

595

he'll bring it back to me.

Thanks, everyone.

COURTROOM DEPUTY: All rise.

This Court is now in recess.

(Recess from 11:19 a.m. to 4:28 p.m.)

COURTROOM DEPUTY: Your Honor, we're now calling
for the record Criminal Action 23-143, United States of
America versus Michael Daniele.

And present on behalf of the defense we have the

defendant, as well as Stuart Kaplan.

For the government, we have Ms. Caroline Jackson.

THE COURT: All right. Good afternoon again,
everyone. Apologies for taking so long. I wanted to --
between a few tech issues, I wanted to make sure I got
through all of evidence. It took a little longer than I
anticipated.

So unless there's anything either side wishes to
discuss, let me go ahead and deliver the verdict here.

So the government's accused Michael Daniele of
offenses relating to the events of January 6th of 2021 at
the United States Capitol Building.

Mr. Daniele is charged with six offenses:

Count 1 for obstructing officers during a civil
disorder at the Peace Circle;

Count 2 for obstructing officers during a civil

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 36 of 84

596

disorder at the Lower West Terrace;

Count 3 for entering and remaining in a restricted
building or grounds;

Count 4, disorderly and disruptive conduct in a
restricted building or grounds;

Count 5, disorderly conduct in a Capitol Building.

And Count 6, parading, demonstrating, or picketing
in a Capitol Building.

Let me begin by making the following findings.

Prior to January 6th and on the day itself and
according to the testimony of inspector Lanelle Hawa of the
U.S. Secret Service, whose testimony from a prior trial was
admitted into evidence, U.S. Capitol Police had established
a security perimeter for the certification of the
Electoral College vote.

According to Captain Ronald Ortega, the security
perimeter was visible and established with bike racks,
snow fencing, and "Area Closed" signs affixed to the bike
racks and snow fencing. This fact was confirmed by multiple
exhibits.

Captain Ortega testified that no demonstrations
were authorized within the secure perimeter. The building
itself was closed to the public.

Vice President Pence came to the U.S. Capitol that

day to preside over a joint session of Congress to certify

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 37 of 84

597

the Electoral College votes. He and his family, who are
protectees of the U.S. Secret Service, arrived at the
U.S. Capitol at 12:30 p.m. The joint session began at
12:59 p.m. in the House Chamber.

After an objection was lodged to the first state's
electoral votes, the houses split and retired to their
respective chambers. Vice President Pence briefly presided
over the Senate debate and then went to his office.

Inspector Hawa testified that sometime after
1:15 p.m., she began to hear radio transmissions indicating
large crowds were gathered outside the Capitol Building.
Eventually, she learned that the building had been breached.

The decision was then made to move the
Vice President and his family to a secure location. That
occurred at approximately 2:25 p.m. According to Inspector
Hawa, the Vice President remained in the secure location
until later that evening for approximately five hours.
Inspector Hawa testified it was not advisable to bring the
Vice President back to either the House or Senate chambers
until the building had been cleared.

Video evidence showed that the first breach of the
Capitol Building itself took places at 2:13 p.m. through the
Senate Wing doors. At about the same time, the Senate
recessed, and the House initially recessed at 2:18 p.m. and

then resumed at 2:26 p.m. It recessed again at 2:29 p.m.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 38 of 84

598

The certification proceedings resumed sometime after
8:00 p.m.

Mr. Daniele left his home in New Jersey for
Washington, D.C., on the morning of January 6 to attend the
Stop the Steal event.

Upon arriving in D.C., Mr. Daniele, dressed ina
dark jacket and blue jeans, proceeded to the Mall in the
area relatively close to the Washington Monument. There,
video evidence and his own testimony established that
Mr. Daniele was present for a portion of President Trump's
speech at the Ellipse. Video evidence showed that
President Trump's voice could be heard from Mr. Daniele's
location on the Mall, but Mr. Daniele disputed that he was
able to hear what the President was saying.

Mr. Daniele left the Mall before President Trump's
speech ended. At the first -—- at first, he could be seen in
front of the reflecting pool on the west side of the
Capitol, and eventually he made his way to the Peace Circle.
There, Mr. Daniele, with a large and growing crowd of
people, encountered a line of bike racks and snow fencing,
behind which are a group or were a group of U.S. Capitol
Police officers who were guarding the Pennsylvania Avenue
walkway. At least one "Area Closed" sign appeared on the
bike racks. This was around 12:50 p.m.

Within about five minutes, mayhem broke out.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 39 of 84

599

A number of individuals, none of whom are Mr. Daniele, began
to confront the line of officers, eventually pushing and
pulling back on the bike racks. Eventually the bike racks
were pushed down and the individuals started to come across
the barrier. At this point, Mr. Daniele remained behind the
bike racks. If one were facing the Capitol at this point,
Mr. Daniele is at the far right of the group.

During the struggle, officers attempted to stand
the bike racks back up. The officer in front of Mr. Daniele
attempted to raise the bike rack in front of him. As he did
so, Mr. Daniele's right foot, wearing a tan boot, can be
seen making contact with the bike rack. His foot comes off
the rack almost immediately, and the officer is able to
continue lifting the bike rack. It appears that a second or
so later, Mr. Daniele's boot is a few feet back from the
police line. The crowd, nevertheless, remained defiant and
rowdy. Eventually, the officers dropped the bike racks to
the ground.

At this point, the snow fencing had separated from
the bike rack. What appears to happen at this point is that
Mr. Daniele reaches down and pulls back the snow fencing to
move it out of his way. As the crowd appears -- excuse
me —- begins to move forward, Mr. Daniele does so too. He
steps on to the bike rack, which is now flat on the ground.

Once he is on the other side of the bike rack,

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 40 of 84

600

Mr. Daniele bends down to pick up at least a baseball cap
that has fallen from an officer's head. That hat turned out
to belong to Officer Cruz. After picking up the hat,

Mr. Daniele walked up the stairs and then began a brisk walk
or jog towards the Capitol Building, specifically the Lower
West Terrace. And as he made his way up the walkway, he
passed through another bike rack -—- set of bike rack
barriers which had opened up.

Mr. Daniele had arrived at the Lower West Terrace
shortly afterwards with ball cap in hand. There, he
encountered another bike rack barrier with officers behind
it. As he approached the bike rack, Mr. Daniele extended
his arms toward one of the officers to offer the cap to the
officer, who accepted it.

At about the same time, another person who was to
the left of Mr. Daniele lifted up on one of the bike racks
and unhooked it from the other. That same person began to
drag the bike rack back, and the rack is -—- in that time is
being opened back into -—- being pushed back into
Mr. Daniele. Mr. Daniele grabbed ahold of the bike rack and
pushed it to the side. As the bike rack was dragged back,
the person behind Mr. Daniele jumped on to a concrete ledge.

At some point, not clear how long after,

Mr. Daniele moved forward; that is, beyond where the bike

rack barrier once stood. He can be seen in one of the

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 41 of 84

601

government's exhibits moving north across the Lower West
Terrace. He eventually ended up standing atop a ledge
looking southward into the Lower West Terrace, where
officers were lined up keeping the crowd at bay.

At one point, Mr. Daniele is looking toward the
Capitol and cups his mouth to his hand and appears to yell
something in the direction of the Capitol Building, where
officers can be seen crossing on the Upper West Terrace.

I do not know, of course, what he said.

Soon afterwards, the crowd surged forward towards
the Upper West Terrace. Mr. Daniele evidently did so too,
because later, although not clear how long, he can be seen
in the front of a line of officers on the Lower West
Terrace, both mouthing something and pointing at them with
both forefingers. Again, we do not know what he said, but
from his body language, he was not paying them a compliment,
it appears.

Later in the same video, he can be seen pacing and
cupping his mouth and seemingly yelling in the direction of
the police. Again, we don't know what he said, but he did
not appear to be shouting encouragement. When this is
occurring, he appears to be no more than 15 feet from the
line of officers.

Around this same time, Mr. Daniele is within feet

of a line of officers. He can be seen with his arms raised

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 42 of 84

602

and middle fingers extended in the direction of the
Capitol Building.

Mr. Daniele testified that he was flipping the
bird or that his flipping of the bird was directed to the
"establishment," because the police were outnumbered, and
also, in his mind, there was wasteful spending of money.

Eventually, Mr. Daniele made his way back to the
south end of the Lower West Terrace, away from the crowd,
but positioned between two bike rack barriers. He may have
hopped a fence on the way to get there. It's not exactly
clear the timing of it all, but it may have been that he
hopped a fence to get to that part of the
Lower West Terrace. There he can be seen on his cell phone,
and in the immediate vicinity are two officers behind
barriers.

Later, Mr. Daniele made his way back across the
Lower West Terrace toward the north end. He ended up in
front of the scaffolding on the north side, in front of the
entry door to that scaffolding.

Initially, the crowd is being held back by the
police, but eventually the crowd surges forward.

Mr. Daniele is part of the group.

As the group moves forward, so does he. The video

evidence shows Mr. Daniele appearing to shout as he is

moving forward with the group. Again, we don't know what

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 43 of 84

603

his words were; but, nevertheless, he remains in the crush
of people as they move underneath the scaffolding.

According to Mr. Daniele, while he was underneath
the scaffolding, he was hit with pepper spray in the face.
That did cause him to come out from underneath the
scaffolding. It appears that he did so around the time a
line of MPD riot officers arrived at the Capitol.

Mr. Daniele is near those officers. He evidently is having
trouble seeing, based upon the video evidence, and is
clearly affected by the pepper spray and, in fact, appears
to take some water to clean his eyes out.

He then appears to climb the stairs that are next
to the scaffolding, and then, in fact, ducks underneath the
scaffolding and makes his way to the Upper West Terrace,
where initially he can be seen walking away from the
Senate Wing doors.

Eventually, Mr. Daniele does find the Senate Wing
doors, and he enters them at approximately 2:19 p.m.
Approximately -—- this is approximately 19 -—- 90 minutes,
excuse me, after Mr. Daniele has arrived at the bike racks
at the Peace Circle.

Mr. Daniele walks in through the Senate Wing doors
with phone in hand. He immediately looks down, turns to his
right, and he sees a man jump through the broken window. He

takes a photograph of that broken window. At the time, he

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 44 of 84

604

does not appear to be in any distress. At no point, for
example, does he wipe his eyes or reach for his eyes. There
are at the time no police officers in the hallway as he has
entered in -- when he enters into the Senate Wing doors --
through the Senate Wing doors.

Mr. Daniele then walks down the hallway toward the
Crypt. Before he gets there, he hands his phone to someone
and has his photo taken of him with his arms extended. He
then enters the Crypt at around 2:22 p.m. He walks around
for a bit, appears to take some photos and, again, during
this time, does not appear to be in distress. At some point
he can be seen jumping as if to look over the crowd. He
then turns around and walks out of the Crypt two minutes
later at 2:24 p.m. He walks back down the hall and leaves
through the Senate Wing doors. After exiting the Capitol,
according to Mr. Daniele, he headed back to the bus, and
then returned home.

Following January 6th, Mr. Daniele was interviewed
by the FBI but not arrested on that date. He was not
arrested until February 20th of 2023. And following his
arrest, Mr. Daniele gave a recorded custodial interview.

Counts 1 and 2 of the Indictment charge
Mr. Daniele with obstructing officers during a civil
disorder, in violation of 18 U.S.C. 23 -- 231(a) (3).

Count 1 charges that the obstructive act occurred

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 45 of 84

605

near the Peace Circle. A government-—filed bill of
particulars indicates that the conduct at issue was stepping
on a bike rack as an officer attempted to bring it back
upright.

Count 2 charges that the obstructive act occurred
near the Lower West Terrace. The government-—filed bill of
particulars indicates that the conduct at issue was pulling
back a bike rack, which ended up on the ground.

In order to find the defendant guilty of these
offenses, I must find that the government proved each of the
following elements beyond a reasonable doubt:

First, the defendant knowingly committed or
attempted to commit an act with the intended purpose of
obstructing, impeding, or interfering with law enforcement
officers;

Second, at the time of the defendant's actual or
attempted act, the law enforcement officers were engaged in
the lawful performance of their official duties incident to
and during a civil disorder;

And, three, that the civil disorder in any way or
degree obstructed, delayed, or adversely affected commerce
or the movement of any article or commodity in commerce or
the conduct or performance of any federally protected
function.

There's no dispute here as to elements 1 and 2.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 46 of 84

606

At the time in question, law enforcement officers were
engaged in unlawful performance of their official duties
incident to and during a civil disorder, and the civil
disorder obstructed, delayed, or adversely affected commerce
or the movement of any article or commodity in commerce -—-—
and that's evidenced by the Safeway Store information -- or
affected the conduct or performance of any federally
protected function, and it did, and that would be the duties
of the Secret Service.

At issue is whether Mr. Daniele knowingly stepped
on the first bike rack and knowingly pulled back on the
second bike rack as opposed to with ignorance, mistake, or
accident, and whether he had the requisite intent when he
performed those acts.

As to Count 1, I cannot find beyond a reasonable
doubt that Mr. Daniele acted with the intended purpose of
obstructing, impeding, or interfering with law enforcement
officers when he placed his foot on the bike rack. The
evidence showed that Mr. Daniele had his foot on the bike
rack only momentarily. The officer was able to continue
raising the bike racks, suggesting that Mr. Daniele was not
stepping on the bike rack with much force.

Mr. Daniele then stepped away from the line and
moved forward only after the officers dropped the bike rack

barriers to fall back to the Lower West Terrace. During

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 47 of 84

607

this time, there was no evidence that Mr. Daniele said
anything to an officer or any -- to any officer,
participated in any chanting, or took any other action
suggesting that his intent at the time was to interfere with
the officer's performance of his duties.

As to Count 2, I likewise find that I cannot find
by a reasonable doubt -- I do not find beyond a reasonable
doubt that Mr. Daniele acted with the intended purpose of
obstructing, impeding, or interfering with law enforcement
officers when he took hold of the bike rack and pushed it
out of the way and to the ground.

The evidence is undisputed that another person
lifted a different segment of the bike rack barrier and
pulled back on it just as Mr. Daniele was reaching out his
hand to offer an officer the baseball cap that he had picked
up. The bike rack barrier moved toward Mr. Daniele. It
would have been perfectly natural for him to grab the bike
rack and move it out of the way to protect himself.

The bike rack posed some danger, as evidenced by
the person behind Mr. Daniele jumping onto the ledge to
avoid being hit. Also, Mr. Daniele does not do anything
immediately after to impede any officer. He stands in the
same location for some period of time.

The government has argued as to both Counts 1

and 2 that Mr. Danielle's intent can be inferred not only

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 48 of 84

608

from the acts captured on video but also the inconsistencies
between his post-arrest statements to the FBI and the video
evidence.

To be sure, Mr. Daniele said things to the FBI
that were not accurate, just as he had not -- such as that

he had not touched a barricade or been near the front of any

police lines. Those statements were just wrong. That can
be attributed, however, to the passage of time -—- and it had
been about two years -—- and perhaps Mr. Daniele having

convinced himself of the innocence of his actions as opposed
to knowingly making false statements.

Count 3 of the Indictment charges Mr. Daniele with
entering or remaining in a restricted building or grounds,
in violation of 18 United States Code 1752 (a) (1).

In order to find the defendant guilty of this
offense, I must find that the government proved each of the
following two offenses beyond a reasonable doubt.

First, the defendant entered or remained ina
restricted building or grounds without lawful authority to
do so; and, second, that the defendant did so knowingly.

There's no dispute here that Mr. Daniele entered
or remained in a restricted building or grounds without
lawful authority to do so.

As Inspector Hawa and Captain Ortega testified,

there was a restricted perimeter set up for January the 6th,

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 49 of 84

609

and Mr. Daniele was not supposed to be inside of it.

Mr. Daniele also knew that he was without lawful
authority to be within that restricted perimeter. He
admitted as much on the witness stand, stating that he
understood that he was not permitted to be on
Capitol Grounds beyond the bike racks.

Even without this testimony, there was ample basis
to find that he had the requisite knowledge. There were not
only visible signs and bike racks, but everything
Mr. Daniele witnessed that day should have been a clear
indication that he was not permitted on Capitol Grounds:

The police lines, the use of less-than-lethal crowd
dispersal measures, the LRAD, and much, much more.

Mr. Daniele's defense turns on the legal question
of whether he had —- whether he had to possess knowledge why
the grounds were restricted that day; namely, that he, in
fact, knew that Vice President Pence or his family were or
would be at the Capitol that day.

As defense counsel has noted, there is a split
among the judges in this district about whether the
government must prove knowledge of the Vice President's
presence, and that matter is presently pending before the
D.C. Circuit.

I'm of the view that the government is not

required to prove such knowledge beyond a reasonable doubt.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 50 of 84

610

I agree with my colleagues who have concluded that the

Vice President's presence is a jurisdictional fact, not an
element of the offense for which knowledge must be proven.

I agree with the reasoning of Judge Howell in her written
decision in United States versus Carnell, 23-cr-139, and
Judge Moss in his oral ruling in United States versus Smith,
23-cr-71. I respectfully disagree with my colleagues who
have come to the opposite conclusion.

Let me add that, to the extent that defense
counsel has suggested I should acquit Mr. Daniele because
the issue -- that is, the legal issue -—- is unresolved and
was not resolved prior to January 6 and remains unresolved
today, that is not a proper grounds for an acquittal,
because doing so -- a proper grounds for acquittal, because
proof of the actual elements of the crime have been
satisfied beyond a reasonable doubt.

Count 4 of the Indictment charges Mr. Daniele with
disorderly or disruptive conduct in a restricted building or
grounds, in violation of 18 United States Code 1752(a) (2).

To find Mr. Daniele guilty of this offense, I must
find the government proved each of the following three
elements beyond a reasonable doubt:

First, that he engaged in disorderly or disruptive
conduct in or in proximity to any restricted building or

grounds;

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 51 of 84

611

Second, that he did so knowingly and with the
intent to impede or disrupt the orderly conduct of
government business or official functions;

Third, that his conduct occurred when or so that
his conduct, in fact, impeded or disrupted the orderly
conduct of government business or official functions.

Mr. Daniele's presence on the grounds and inside
the building and presence on the grounds for up to two hours
was disorderly and disruptive.

Let me read from the D.C. Circuit's holding in
United States versus Alford, 89 F.4th 943, 946 from 2024.
There, the Court wrote the following:

The trial evidence indicated that during Alford's
brief time within the Capitol, he was neither violent nor
destructive. Nevertheless, we affirm his convictions
because a jury could rationally find that his unauthorized
presence in the Capitol as part of an unruly mob contributed
to the disruption of the Congress's electoral certification
and jeopardized public safety.

A rational jury could conclude that Alford's
actions were disruptive because his presence in the Capitol
contributed to the Congress's multi-hour delay in completing
the electoral certification.

There was ample evidence for the jury to conclude

that Alford knowingly entered the Capitol without

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 52 of 84

612

authorization. He walked past numerous "Area Closed" signs,
stood by as rioters in the building, through open the
nonpublic -- excuse me, entered the nonpublic Upper House
door, walked into the Capitol despite a shrill security
alarm, and then passed through a metal detector without
undergoing any security screening.

A police officer testified at trial that each
unauthorized individual posed a security hazard and that
Congress would not resume its business until the entire
building was cleared and checked for threats like lurkers or
explosives.

Alford's entry into the Capitol, alongside dozens
of others, directly contributed to the Congress's need to
recess to ensure the safety of its members. Indeed,
entering the Capitol as part of a crowd, rather than as a
loan individual, magnified the disruptiveness of his
presence. Each additional person, no matter how modestly
behaved, increased the chaos within the building, the
police's difficulty in restoring order, and the likelihood
of interference with Congress's work.

That was the evidence in Mr. Alford's case and is
certainly comparable to that here. And the evidence here
involved more than mere presence. For 90 minutes,

Mr. Daniele was on the west side of the Capitol before he

entered the Capitol Building. During that time, the video

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 53 of 84

613

evidence showed him yelling on some occasions, pointing at
police officers as if to taunt them, and flipping the bird
to the establishment. I'll say that was not the most
logistical explanation for why you were flipping the bird,
Mr. Daniele.

Second, I find beyond a reasonable doubt that he
did so knowingly -- that is, he acted knowingly -- and with
the intent to impede or disrupt the orderly conduct of
government business or official functions. He joined a mob
that caused Congress to recess and could not resume until
later that evening.

You may or may not have known that Mike Pence,
Vice President, was in the building, but you surely knew
that the business of the United States people is conducted
in the halls of Congress and, in fact, was being conducted
that very day. Why else come to Washington, D.C., on
January 6th?

Importantly, why would there be any other reason
to march to the Capitol Building? And why else would
thousands of people have surrounded the Capitol and hundreds
of police officers tried to protect it? And why else would
you have been there unless Congress was doing the people's
work?

You were present for a good part of the

President's speech. You may not have heard all of it, but

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 54 of 84

614

I'm confident that you heard enough to understand that part
of the speech was intended to influence the joint session
that was about to convene that afternoon.

Your actions at the Capitol also suggested an
understanding that congressional business was going on
inside.

You're can be seen yelling at various points. You
tried to get up the stairs underneath the scaffolding even
before you were sprayed. And, of course, you extended both
of your middle fingers in the direction of the building
while you stood just feet away from a line of officers who
were protecting it. Again, it defies logic that your
presence there that day was not to impede or disrupt the
workings of Congress.

Third, I do find beyond a reasonable doubt that
your conduct occurred when or so that it, in fact, did
impede or disrupt the orderly conduct of government business
or official functions. The congressional proceedings
adjourned, the Vice President had to be taken out by the
Secret Service, and the police functions were disrupted as
well.

And I will just note once more that the
government, for this count, was not required to prove that
you were aware that the Vice President would be at the

Capitol that day in order to establish the restricted

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 55 of 84

615

building or grounds element.

Count 5 charges Mr. Daniele with disorderly
conduct in a Capitol Building or Grounds, in violation of
the 40 United States Code 5104 (e) (2) (D).

The elements of this offense which the government
must prove beyond a reasonable doubt are:

First, that the defendant engaged in disorderly or
disruptive conduct in any of the United States Capitol
Buildings or Grounds;

Second, that the defendant did so with the intent
to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress;

And, third, that the defendant acted willfully and
knowingly.

First, I've already found that you have engaged in
disorderly or did engage in disorderly or disruptive conduct
on the grounds and in the building itself.

Second, I've also found that you did so with the
intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress.

And, third, I do find that you acted willfully and
knowingly.

Broadly speaking, a person acts willfully when
they act with the knowledge that their conduct was unlawful.

This is Bryan versus United States, 424 U.S. 184

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 56 of 84

616

at 199 to 192.

You very well knew that you were not supposed to
be there that day. You admitted as much during your
testimony.

Count 6 of the Indictment charges Mr. Daniele with
parading, demonstrating, or picketing in a Capitol Building,
in violation of 40 United States Code 5104 (e) (2) (G).

The elements of this offense, which the government
must prove beyond a reasonable doubt, are:

First, that the defendant paraded, demonstrated,
or picketed in any of the United States Capitol buildings;

Second, that the defendant did so with the intent
to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress;

And, third, that the defendant acted willfully and
knowingly.

First, I do find that you did parade and
demonstrate.

To "parade" means to take part in a march or
procession organized on a grand scale in support of some
political object. Certainly that is what you were doing
when you entered with thousands of others with the intent to
disrupt congressional proceedings.

To "demonstrate" means to take part in a public

manifestation by a number of persons of interest in some

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 57 of 84

617

public question or sympathy with some political or other
cause, usually taking the form of a procession en masse
meeting.

Obviously, you were demonstrating that day.
Certainly you joined a public display of group feelings
toward a person or cause.

Second, I've already found that you did these acts
with the intent to impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of

Congress.

And, third, that you acted willfully and
knowingly.

You've argued that you went inside the building,
not to disrupt Congress, but to wash out your eyes. That

explanation is hard to square with the video evidence.

For one, you were hit with pepper spray on the
Lower West Terrace underneath the scaffolding. The evidence
showed that you were able to rinse your eyes out some
amount.

At that point, one would have thought you'd had
enough. You could have simply left at that point, gone in
the other direction. But at that point, instead, you went
up the stairs and found your way to the Senate Wing doors,
through which —-- and entered them even though there was

clear evidence of forced entry.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 58 of 84

618

You admitted to seeing glass on the floor. You
took a photo of a broken window. The video evidence does
not show you to be in distress, certainly not so much
distress that you did not have the wherewithal to be on your
phone as you entered, take a photograph of a broken window,
hand your phone to someone else and have them take a photo
of you, and then continue on into the Crypt, where you then
turned around and left shortly thereafter. Maybe it was at
that point you realized you couldn't go any further, or
maybe it was at that point you realized you had had enough.

This idea that you thought it was acceptable to
enter the building because there were no police present in
the hallway inside the Senate Wing door makes very little
sense to me. For 90 minutes, you had witnessed police try
to courageously protect the very building you say you
thought it was acceptable to enter.

So the Court finds as follows:

Count 1, for obstructing officers during a civil
disorder -- this is at the Peace Circle: Not guilty;

Count 2, for obstructing officers during a civil
disorder at the Lower West Terrace: Not guilty;

Count 3, for entering and remaining ina
restricted building or grounds: Guilty;

Count 4, for disorderly and disruptive conduct in

a restricted building or grounds: Guilty;

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 59 of 84

619

Count 5, for disorderly conduct in a Capitol
Building or Grounds: Guilty;

And, finally, Count 6, for parading,
demonstrating, or picketing in a Capitol Building: Guilty.

All right. So that will be the verdict of the
Court.

Mr. Kaplan?

MR. KAPLAN: Yes, Your Honor.

THE COURT: With respect to Counts 3 and 4 as to
which we have a difference of opinion on the legal question,
please just make sure you file your motion for new trial or
judgment without -- notwithstanding the verdict, in a timely
manner. My expectation is that by the time of sentencing,
the D.C. Circuit will have ruled on this issue.

And let me just say for the record now that
I'm not convinced by a reasonable doubt that Mr. Daniele
knew, in fact, that the Vice President was there that day or
was going to be there. And so if the D.C. Circuit comes
down with an opinion that's different than mine, I will
enter a judgment of acquittal on those counts prior to
sentencing, because I do expect to have a decision before
sentencing.

MR. KAPLAN: Your Honor, I appreciate that.

Thank you.

THE COURT: Sure.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 60 of 84

620

I just want to make sure it's done on time because
it is —-

MR. KAPLAN: Yes.

Do you know, can that be done before sentencing?

THE COURT: Can what be done before sentencing?

MR. KAPLAN: The motion?

THE COURT: Sure.

You could do it tomorrow. You could ask for a new
trial tomorrow.

MR. KAPLAN: Okay.

THE COURT: All right. So that is the -—- that's
the judgment of the Court.

Let's set a sentencing date some 120-or-so days
out..

MR. KAPLAN: Your Honor, may I just ask, just for
edification only, because the Count 3, 4, 5, and 6,
do I understand those are misdemeanor counts?

THE COURT: Correct.

MR. KAPLAN: Okay.

THE COURT: 3 and 4 are 1-year misdemeanors.
Counts 5 and 6 are 6-month misdemeanors.

MR. KAPLAN: That's what I thought. Thank you,
Your Honor.

Your Honor, if I could, I'd also -- I don't know

if you remember, I know Ms. Jackson is kind of new here, but

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 61 of 84

621

one of the things, going back several month ago, I said the
summertime -- because I have two still young children,
I'm --

THE COURT: I'm looking at September.

MR. KAPLAN: Thank you, Your Honor. I appreciate
that.

THE COURT: It's moving into August.

How about August the 2nd at -—- August the 4th,
pardon me, August the 4th at 1:30 in the afternoon?

MR. KAPLAN: I just have to power up my phone.
Forgive me, Your Honor.

THE COURT: Sure.

MR. KAPLAN: That was August 4th?

Is that going to give Probation enough time to do
the Presentence Report?

THE COURT: Yeah, plenty.

MS. JACKSON: Your Honor, I believe August the 4th
is a Sunday.

THE COURT: Oh, I misspoke. I meant
October the 4th. Sorry.

MR. KAPLAN: October?

THE COURT: Yes. Sorry. I now understand the
reason for your question.

Yes. I meant to say October the 4th, not

August 4th. October the 4th. Sorry about that. 1:30.

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 62 of 84

622

MR. KAPLAN: At 1:30, Your Honor?

THE COURT: Yes.

MR. KAPLAN: Thank you, Your Honor.

THE COURT: We will enter a Minute Order that
reflects the deadlines for both sentencing memos and for the
Presentence Investigation Report. Typically those are due a
week or so before sentencing. So a week or so before
sentencing.

MR. KAPLAN: I hope the government is having the
same bail conditions, Your Honor, as far as release?

THE COURT: Yeah.

I mean, I don't know what the government is going
to ask for, but my intention is certainly to allow
Mr. Daniele to remain on release pending sentencing.

MS. JACKSON: Yes, Your Honor.

MR. KAPLAN: Thank you.

THE COURT: Okay.

Just so for your edification, Mr. Daniele, prior
to sentencing, a few things will happen. You can stay
seated, sir. That's fine. You can stay seated.

You'll be interviewed by the Probation Office.
The Probation Office will prepare a Presentence
Investigation Report for me. The purpose of that report is
a number of things. But one of the things that will happen

is that they will interview you so I can get some

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 63 of 84

623

information about your background and your history. You are
entitled to have your lawyer with you during hak iaterwlew.
You also have the right to have that report -- to read that

report and review it before sentencing.

And, finally, you'll have the opportunity, through
your counsel, to present any information you would like for
me to consider at sentencing.

And you also will have the opportunity to address
me at sentencing as well, okay?

THE DEFENDANT: Thank you.

THE COURT: All right.

Is there anything else we need to take care of
before we adjourn?

MS. JACKSON: None from the government,

Your Honor.

MR. KAPLAN: Not from the defense, Your Honor.

THE COURT: Okay. Thank you, all, very much.

I appreciate your presentations, take care, enjoy the rest
of your summer, and we'll see you in a few months.

MR. KAPLAN: Thank you, Your Honor.

THE COURT: Thank you.

COURTROOM DEPUTY: All rise.

This court is now adjourned.

(Proceedings concluded at 5:02 p.m.)

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 64 of 84

CERTIFICATE
I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of

proceedings in the above-titled matter.

Date:__July 26, 2024

William P. Zaremba, RMR, CRR

Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 65 of 84

EXHIBIT C
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 66 of 84

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,
v.
JAKE MAXWELL,

Defendant.

CR No. 22-0099 (RJL)

Washington, D.C.
Tuesday, November 14, 2023
3:53 p.m.

Pages 392 through 410

TRANSCRIPT OF BENCH TRIAL
BEFORE THE HONORABLE RICHARD J. LEON
UNITED STATES DISTRICT JUDGE

APPEARANCES:

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For Defendant:

Court Reporter:

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392
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 67 of 84

393

PROCEEDINGS

THE DEPUTY CLERK: Your Honor, we're in criminal action
22-099, United States of America versus Jake Maxwell. If I
can have counsel to approach the podium, state your name for
the record, starting with the United States.

MS. ERIKSEN: Good afternoon, Your Honor. Elizabeth
Eriksen, Nathaniel Whitesel, and Sean Brennan for the
United States, joined by Special Agent Joshua Floyd and our
paralegal Taylor Wilbert.

THE COURT: Good afternoon.

MR. VAN DER VEEN: Good afternoon, Judge. Michael van
der Veen on behalf of the Mr. Maxwell, who is present here
today, along with William Brennan, Adam Leasure, and Abigail
Cohen.

THE COURT: Good afternoon. All right, everyone.
We're here for the Court's verdict in the case, which I've
prepared in writing.

Defendant Jake Maxwell is charged with committing seven
offenses relating to his conduct on the U.S. Capitol on
January 6, 2021. After a bench trial on those seven offenses,
the Court reaches the following verdict, relying only on
evidence and testimony admitted at trial.

Count One. Count One of the indictment charges Mr. Maxwell
with civil disorder, in violation of 18 U.S. Code § 231(a) (3).

For him to be guilty of that offense, the government must
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 68 of 84

394

prove, beyond a reasonable doubt,

(1) that the defendant knowingly committed or attempted
to commit an act for the intended purpose of obstructing,
impeding, or interfering with one or more law enforcement
officers;

(2) that at the time of the defendant's actual or attempted
act, the law enforcement officer or officers were engaged in
the lawful performance of their official duties incident to
and during a civil disorder; and

(3) that the civil disorder in any way or degree
obstructed, delayed, or adversely affected either commerce or
the movement of any article or commodity in commerce or the
conduct or performance of any federally protected function;

As for the first element, the Court finds, beyond a
reasonable doubt, that Mr. Maxwell knowingly committed an
act intending to obstruct, impede, or interfere with law
enforcement officers.

The evidence is clear regarding Mr. Maxwell's movements on
the U.S. Capitol grounds that day: He entered the south end
of the West Plaza between 2:00 and 2:30 p.m. and watched as
rioters shoved, threw objects at, and attacked officers from
the Metropolitan Police Department and the U.S. Capitol Police,
who were attempting to hold the line on the west front.

Shortly after 2:30 p.m., Mr. Maxwell made his way to

the front of the crowd and came face-to-face within a line
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 69 of 84

395

of officers, who — as Mr. Maxwell himself acknowledged — "were
defending the Capitol." With the mob then pressing behind
him, Mr. Maxwell surged forward into the police line and, in
fact, breached it, eventually coming to rest behind that line.

Over the next two-and-a-half hours, Mr. Maxwell moved from
his position behind the police line, which collapsed shortly
after he left the West Plaza, traveled up to the Lower West
Terrace, then the tunnel, and finally the Upper West Terrace;
for much of that time, Mr. Maxwell was part of a crowd that
included violent rioters, whose assaultive conduct Mr. Maxwell
could not fail to see.

The Court therefore finds that the defendant's acts and
movements that day were not made "through ignorance, mistake,
or accident," but rather with a full awareness that they would
obstruct, impede, or interfere in the police's ability to
defend the Capitol.

The Court additionally finds that Mr. Maxwell, who
deliberately cut a path to the front of the mob and the
police line, and who joined in a crowd that he knew included
assaultive rioters, did so with the "intended purpose" of
obstructing, impeding, or interfering with the police's
mandate to protect the Capitol and its inhabitants and to
clear the grounds of all demonstrators. As such, the Court
finds the first element of civil disorder is satisfied in

Mr. Maxwell's case.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 70 of 84

396

As to the second element, the Court finds, beyond a
reasonable doubt, that at the time of Mr. Maxwell's acts,
Metropolitan Police Department and the Capitol Police were
engaged in the lawful performance of their official duties
incident to and during a civil disorder. They were protecting
the U.S. Capitol and the elected officials and staff therein
from an obvious public disturbance brought on by thousands of
demonstrators, many of whom turned violent and caused damage
to the Capitol and injury to many individuals.

Finally, as to the third element, the Court finds, beyond
a reasonable doubt, that the civil disturbance adversely
affected commerce in that it forced a nearby business to close
early and lose out on profits that it would have otherwise
realized.

Accordingly, the Court finds Mr. Maxwell guilty of Count
One, civil disorder.

Count Two charges Mr. Maxwell with assaulting, resisting,
or impeding an officer from the U.S. Capitol Police in,
violation of 18 U.S. Code § 1ll(a)(1). For Mr. Maxwell to be
guilty of the felony version of that offense, the government
must prove, beyond a reasonable doubt,

(1) that the defendant assaulted, resisted, opposed
impeded, intimidated, or interfered with an officer from
the United States Capitol Police Department;

(2) that the defendant did such acts forcibly;
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 71 of 84

397

(3) that the defendant did such acts voluntarily and
intentionally;

(4) that the person assaulted, resisted, opposed, impeded
intimidated, or interfered with was an officer or an employee
of the United States who was then engaged in the performance
of his or her official duties; and

(5) that the defendant made physical contact with the
officer or acted with the intent to commit another felony.

As to the first and the fifth elements, the Court finds,
beyond a reasonable doubt, that Mr. Maxwell's contact with
the shield of the U.S. Capitol Police officer on the police
line on the West Plaza amounted to opposing, impeding, or
interfering with that officer, and involved physical contact
with him.

As to the fourth element, the Court also finds, beyond a
reasonable doubt, that the U.S. Capitol Police officer was a
federal officer engaged in the performance of his official
duties, that is, protecting the U.S. Capitol and the elected
officials and staff therein.

However, the Court has a reasonable doubt as to the second
and third elements of this charge, which require a finding
that Mr. Maxwell's contact with the officer's shield was
forcible, voluntary, and intentional.

The evidence and testimony admitted during trial revealed

that Mr. Maxwell, during the interaction in question, was at
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 72 of 84

398

the front of a large, surging crowd while his father maintained
a, what he described as a "death grip" around his waist to
direct and manipulate his son's movements.

In still photos and videos alike, Mr. Maxwell is shown
hemmed in, even squashed, between the crowd and his father
on one hand and the line of officers on the other. Officer
Harvell himself, whose body-worn camera captured the incident,
agreed on cross-examination that it was "possible" that
Mr. Maxwell was "being pushed" from behind.

From the collective evidence, the Court, too, finds it
"possible" — if not likely — that Mr. Maxwell's contact with
the U.S. Capitol Police officer's shield was more the result
of the propelling, pushing crowd and his father's reactive
maneuvering than it was his own action.

At any rate, even if Mr. Maxwell's contact with the shield
was done voluntarily or with the active use of force, the
evidence leaves sufficient room to doubt that he committed the
act with the requisite intent.

Indeed, the government offers little evidence on this
point besides video footage of the incident itself; and in
this particular case, the video footage — which is fast-moving,
sometimes blurry, and often indeterminate — is not enough,
standing alone, to convince the Court that Mr. Maxwell had
the intent to oppose, impede, or interfere with the particular

officer holding that shield.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 73 of 84

399

Accordingly, the Court finds Mr. Maxwell not guilty of
Count Two, assaulting, resisting, or impeding a U.S. Capitol
Police officer.

Count Three. Count Three charges Mr. Maxwell with
assaulting, resisting, or impeding Officer Laschon Harvell
from the Metropolitan Police Department, in violation of 18
U.S. Code lll(a)(1). For Mr. Maxwell to be guilty of the
felony version of that offense, the government must prove,
beyond a reasonable doubt,

(1) that the defendant assaulted, resisted, opposed,
impeded, intimidated, or interfered with Officer Harvell,
an officer of the Metropolitan Police Department;

(2) that the defendant did such acts forcibly;

(3) that the defendant did such acts voluntarily and
intentionally;

(4) that the person assaulted, resisted, opposed, impeded,
intimidated, or interfered with was assisting officers of the
United States who were then engaged in the performance of
their official duties; and

(5) that the defendant made physical contact with that
officer or acted with the intent to commit another felony.

As to the first and fifth elements, the Court finds, beyond
a reasonable doubt, that Mr. Maxwell's two contacts with
Officer Harvell's baton amounted to opposing, impeding, or

interfering with Officer Harvell and involved physical contact
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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 74 of 84

with him. As to the fourth element, the Court also finds
beyond a reasonable doubt that, during the incidents in
question, Officer Harvell was assisting the U.S. Capitol

Police, who were then engaged in the performance of their

400

official duties of protecting the U.S. Capitol and the elected

officials and staff therein.
The Court does not believe, however, that the government
has met its burden on the second element of the offense,

requiring that Mr. Maxwell's contact with the baton be

"forcible." Even assuming otherwise, however, the Court again

has a reasonable doubt as to the charge's third element, that

the acts were done voluntarily and intentionally.

The two "baton incidents" that form the basis of Mr. Maxwell's

second charged offense under 1ll(a)(1) are, first, an incident

in which Officer Harvell's baton is clamped between Mr. Maxwell's

inner bicep and upper torso; and second, an incident in which

Mr. Maxwell clasps his hand around Officer Harvell's baton and

holds it one or two seconds.

As to the first incident, the evidence and testimony do not

lead this court to inescapably conclude that Mr. Maxwell held

Officer Harvell's baton under his arm with any intent to
disarm Officer Harvell, to wrest the baton away, or to
otherwise resist, oppose, impede, intimidate, or interfere

with Officer Harvell.

To the contrary, at least one reasonable view of the video
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 75 of 84

401

and photo evidence is that Mr. Maxwell's action, or reaction,
in clamping down on the baton was reflexive in nature, or
even defensive — a direct response to the baton thrusting
into his torso, which occurred, no less, only seconds after
Mr. Maxwell was hit on the head with that same baton.

To be sure, Officer Harvell testified that he believed
Mr. Maxwell's aim was to disarm him. However, Officer
Harvell's belief, which was based on his review of the
evidence in this case rather than his own memory, is not more
persuasive than the footage of the incident itself, which
shows that Mr. Maxwell released the baton from under his arm
in less than one second after he clamped down on it, a view
that suggests that Mr. Maxwell never intended to, and indeed
did not, loosen Officer Harvell's grip on the baton, much less
take it away.

As for the second baton incident, the Court finds that the
video footage and still photos displaying this incident are
inconclusive at best. Although, no doubt, Mr. Maxwell's left
hand is shown closing around Officer Harvell's baton, that
action alone does not carry the weight the government ascribes
to it.

It says little about whether Mr. Maxwell intended, as
the government argues, to wrest the baton away from Officer
Harvell, or instead whether he was simply trying to block the

baton as it was being thrust toward him, in the same kind of
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 76 of 84

402

reflexive motion that might describe his first baton incident.

At the end of the day, of course, the government is
entitled to its view of the evidence. But it is a close call,
and, under our system of government, close calls go to the
criminal defendant.

Accordingly, the Court finds Mr. Maxwell not guilty of
Count Three, assaulting, resisting, or impeding Officer
Harvell of the Metropolitan Police Department.

Count Four. Count Four charges Mr. Maxwell with entering
and remaining in a restricted building or grounds, in violation
of 18 U.S. Code § 1752(a) (1). For him to be guilty of that
offense, the government must prove, beyond a reasonable doubt,

(1) that the defendant entered or remained in a restricted
building or grounds without lawful authority to do so; and

(2) that the defendant did so knowingly.

As to the first element, the Court finds, beyond a
reasonable doubt, that by entering and remaining on the West
Plaza, Lower West Terrace, and Upper West Terrace, Mr. Maxwell
was well within restricted grounds and had no authority to be
there. As to the second element, the Court also finds, beyond
a reasonable doubt, that Mr. Maxwell knew he was not supposed
to be in those places.

Regardless of whether he heard or heeded police warnings
to turn back, or saw the multiple lines of barriers that once

encircled the U.S. Capitol grounds, there can be no question,
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 77 of 84

403

at a minimum, that the police line that Mr. Maxwell found
himself in front of alerted him to the fact that he was not
permitted on the grounds.

And, if the police line by itself were not sufficient to
give Mr. Maxwell notice of his trespassing, the conduct of
the other, more violent rioters was surely strong evidence
that Mr. Maxwell, who observed this conduct, was not where
he was supposed to be anyway.

Accordingly, the Court finds Mr. Maxwell guilty of Count
Four, entering and remaining in a restricted building or
grounds.

Count Five. Count Five charges Mr. Maxwell with disorderly
and disruptive conduct in a restricted building or grounds,
in violation of 18 U.S. Code § 1752(a) (2). For him to be
guilty of that offense, the government must prove, beyond a
reasonable doubt,

(1) that the defendant engaged in a disorderly or
disruptive conduct in, or in proximity to, any restricted
building or grounds;

(2) that the defendant did so knowingly, and with the
intent to impede or disrupt the orderly conduct of government
business or official functions; and

(3) that the defendant's conduct occurred when, or so that,
his conduct in fact impeded or disrupted the orderly conduct

of government business or official functions.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 78 of 84
404

As to the first and second elements, the Court finds,
beyond a reasonable doubt, that Mr. Maxwell engaged in
disorderly and disruptive conduct, with the knowledge and
intent that this conduct would impede law enforcement duties,
for the same reasons the Court has already articulated in
finding him guilty of civil disorder.

The Court additionally finds that Mr. Maxwell — who
acknowledged, in his testimony, that he was aware of what
was going on inside the Capitol that day and was there to
"orotest" it — also intended to disrupt congressional

business.

As to the third element, the Court finds, beyond a reasonable

doubt, that Mr. Maxwell was among the thousands of demonstrators
whose presence and conduct in and around the U.S. Capitol did,
in fact, impede and disrupt not only the police trying to do
their job, but also the official functions of Congress: They
delayed Congress's certification of the Electoral College vote.
Accordingly, the Court finds Mr. Maxwell guilty of Count
Five, disorderly and disruptive conduct in a restricted
building or grounds.
Count Six. Count Six charges Mr. Maxwell with engaging
in physical violence in a restricted building or grounds, in
violation of 18 U.S. Code § 1752(a) (4). For him to be guilty
of that offense, the government must prove, beyond a

reasonable doubt,
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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 79 of 84

405

(1) that the defendant engaged in an act of physical
violence against a person or property in, or in proximity to,
a restricted building or grounds; and

(2) that the defendant did so knowingly.

As to the first element, the Court cannot find, beyond
a reasonable doubt, that Mr. Maxwell engaged in an act of
physical violence against the U.S. Capitol Police officer who
is the subject of Count Two, or against Officer Harvell, who
is the subject of Count Three. These are the only alleged
"acts of physical violence" undergirding this charge.

And the parties have agreed in their joint pretrial
submission that an act of physical violence is essentially
an act involving property damage, which is not at issue here,
or an assault or other infliction of bodily harm against
another person. Because the Court did not find, beyond a
reasonable doubt, that Counts Two or Three involved any
assault or infliction of bodily harm, the Court cannot find
that Mr. Maxwell committed that requisite act of physical
violence.

Accordingly, for the reasons articulated by the Court in
finding Mr. Maxwell not guilty of Counts Two and Three, the
Court likewise finds Mr. Maxwell not guilty of Count Six,
engaging in physical violence in a restricted building or
grounds.

Count Seven. Finally, Count Seven charges Mr. Maxwell
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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 80 of 84
406

with an act of physical violence in the Capitol building or
grounds, in violation of 40 U.S. Code § 5104(e)(2)(F). For
him to be guilty of that offense, the government must prove,
beyond a reasonable doubt,
(1) that the defendant engaged in an act of physical
violence within the Capitol building or grounds; and
(2) that the defendant acted willfully and knowingly.
As with Count Six, the Court cannot conclude that
Mr. Maxwell engaged in an act of physical violence based on
his alleged acts against the U.S. Capitol Police officer and
Officer Harvell, which are the only acts on which Counts Six
and Seven, as well as Counts Two and Three, are based.
Accordingly, the Court finds Mr. Maxwell not guilty of
Count Seven, an act of physical violence at the Capitol
building or grounds.
This is the verdict of the Court.
Is there any reason not to set a sentencing date?
MS. ERIKSEN: No, Your Honor. We can do that.
MR. BRENNAN: No, Your Honor.
MR. VAN DER VEEN: That's fine with the defense, Judge.
THE COURT: Say around 90 days, roughly, about mid to
late February. Check your calendar, Counsel, for February 22,
please.
MR. VAN DER VEEN: Fine with the defense, Judge.

MS. ERIKSEN: It's fine for the government, Your Honor.
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 81 of 84

407

THE COURT: Four o'clock.

MR. VAN DER VEEN: Judge, if we could just check
Mr. Brennan's calendar as well? I may have spoken too
quickly.

MR. BRENNAN: Sorry, Judge. My phone was totally off.
It's firing up now.

THE COURT: You've got one of those ethics hearings up
in Pennsylvania you gotta go to?

MR. BRENNAN: You never know.

THE COURT: All right.

MR. BRENNAN: Looks good to me, Your Honor.

THE COURT: Very well. Sentencing memos a week in
advance. That's the 15th of February, okay? If you don't
get the memo in on time, I may have to move the date. So get
the sentencing memo in a week in advance. That's important.

And remember what I told you before — both sides, that is,
of course — in this courtroom a person can exercise his or her
constitutional right to a trial by jury or a trial by court
and not, as a result, waive his chance to get acceptance of
responsibility.

So, at the time of sentencing in this case, there's the
possibility at least -- and that's up to the parties to decide
how they want to deal with it -- to still get acceptance of
responsibility. I can't give a third point under any

scenario. Only the government has the province to do that.
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Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 82 of 84

408

But the Court can give two points.

But the burden to convince the Court is on the defense,
not on the government. The defense has to demonstrate, from
the record and from whatever else it has as its basis, that
the defendant in fact does accept responsibility. That's the
burden on the defense, not on the government. The government
can seek to refute it if it wishes, but that's the defense's
burden. Okay?

Any questions for the government?

MS. ERIKSEN: No, Your Honor.

THE COURT: Any questions for the defense?

MR. VAN DER VEEN: Only that my client, with the
Court's permission, remain out on bail posted.

THE COURT: Yes. I assume the same conditions will be
acceptable to the government. He doesn't have any violations.

MS. ERIKSEN: Yes, Your Honor.

THE COURT: He will remain under the same conditions as
before. No changes.

Mr. Maxwell, stand up a second.

(Defendant complies.)

I'm stating the obvious. You've probably been told what
I'm about to say by both your lawyers: You're in a different
status now than you were when you entered the courtroom today.
You now have three convictions for which you'll be sentenced.

It's imperative that you comply a hundred percent with these
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 83 of 84

409

conditions. Otherwise, you'll put yourself in jeopardy of a
worse sentence than you might otherwise be able to get.

So, if you have any question about what you can or can't
do, what you should or shouldn't do, pick up the phone, call
your -- you've got two very experienced counsel here. Call
one of them and get their advice. Don't put yourself ina
position where you're saying, well, I couldn't get a hold of
Mr. van der Veen or I couldn't get a hold of my other counsel --

THE DEFENDANT: Yes, sir.

THE COURT: -- Mr. Brennan. So don't snatch defeat
from the jaws of victory, okay?

THE DEFENDANT: Yes, sir.

THE COURT: All right. Any other issues?

MS. ERIKSEN: No, Your Honor.

THE COURT: All right. We'll stand in recess.

(Proceedings adjourned at 4:18 p.m.)
Case 1:22-cr-00099-RJL Document 97 Filed 08/01/24 Page 84 of 84

410

CERTIFICATE
I, BRYAN A. WAYNE, Official Court Reporter, certify
that the foregoing pages are a correct transcript from the

record of proceedings in the above-entitled matter.

/s/ Bryan A. Wayne
Bryan A. Wayne

